            Case 2:20-cv-00887-RAJ Document 108 Filed 08/07/20 Page 1 of 5




 1                                                             The Honorable Richard A. Jones
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 6
                        UNITED STATES DISTRICT COURT FOR THE
 7                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 8
 9    BLACK LIVES MATTER SEATTLE-KING                      NO. 2:20-cv-00887-RAJ
      COUNTY, et al.,
10
11                                    Plaintiffs,          ORDER RE: PUBLIC ACCESS
                                                           TO REMOTE PROCEEDINGS
12                     v.
13    CITY OF SEATTLE,
14                                    Defendant.
15
16         The parties in this case are hereby notified that the following proceeding is eligible
17 for video recording and public dissemination under the Judicial Conference Committee
18 on Court Administration and Case Management Pilot Project on Cameras (see
19 https://www.wawd.uscourts.gov/attorneys/cameras-in-the-courtroom). The Court
20 requests the parties’ consent to recording. Unless the Court orders otherwise, recordings
21 of remote court proceedings will be made publicly available with an approximately five-
22 to ten-second delay from the live proceedings.
23
24         Description of proceeding:
25
                  Evidentiary Hearing on Plaintiffs’ Motion for Order to
26                Show Cause Why City of Seattle Should Not Be Held
27                in Contempt For Violating the Preliminary Injunction

28

     ORDER RE: PUBLIC ACCESS
     TO REMOTE PROCEEDINGS - 1
             Case 2:20-cv-00887-RAJ Document 108 Filed 08/07/20 Page 2 of 5




 1          Date of scheduled proceedings:
 2
                   August 26, 2020 at 9:00 AM
 3
                   August 27. 2020 at 9:00 AM
 4                 August 28, 2020 at 9:00 AM
                   August 31, 2020 at 9:00 AM
 5
                   September 1, 2020 at 9:00 AM
 6
 7          The parties are directed to complete the attached PARTY RESPONSE TO
 8 REQUEST FOR VIDEO RECORDING, and return it to the Court no later than
 9 August 13, 2020 by 4:00 p.m. The parties are directed to email their responses to the
10 Court’s courtroom deputy, Victoria Ericksen, at victoria_ericksen@wawd.uscourts.gov.
11          The Court may refuse, limit, or terminate the recording of portions of the
12 proceedings, or testimony of particular witnesses, in the interests of justice; to protect the
13 rights of the parties, and witnesses, and the dignity of the court; to assure the orderly
14 conduct of proceedings; or for any reason considered necessary or appropriate by the
15 Court.
16          Privileged communications between the parties and their attorneys, non-public
17 discussions between attorneys, and sidebar conversations between attorneys and the
18 Court will not be recorded without the express permission of the Court.
19          The Court shall control the recording of the proceedings. Recordings by other
20 entities or persons, unless hired by or under the control of the Court, are not allowed.
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     ORDER RE: PUBLIC ACCESS
     TO REMOTE PROCEEDINGS - 2
           Case 2:20-cv-00887-RAJ Document 108 Filed 08/07/20 Page 3 of 5




1         The Court will help ensure that personal information covered by Fed. R.
2 Civ. P. 5.2 and the Judicial Conference privacy policy will not be uploaded for
3 public view, and will provide warnings to attorneys, parties, and witnesses about
4 disclosing confidential and personal information.
5
6         DATED this 7th day of August, 2020.
7
8                                                  A
9                                                  The Honorable Richard A. Jones
10                                                 United States District Judge
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     ORDER RE: PUBLIC ACCESS
     TO REMOTE PROCEEDINGS - 3
                Case 2:20-cv-00887-RAJ Document 108 Filed 08/07/20 Page 4 of 5

                                        UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF WASHINGTON
                                                     AT SEATTLE

    BLACK LIVES MATTER SEATTLE-KING COUNTY,                       NO. 2:20-cv-00887-RAJ
    et al.,



                                    Plaintiffs,

                     v.

    CITY OF SEATTLE,

                                      Defendant.



                                 Party Response to Request for Video Recording

Describe proceeding:

        Evidentiary Hearing on Plaintiffs’ Motion for Order to Show Cause Why City of Seattle Should Not Be Held
        in Contempt For Violating the Preliminary Injunction



Date of scheduled proceeding:    August 26-September 1, 2020

Check the appropriate box(es) below and on the next page to indicate whether you consent to the recording of some of all of this
proceeding:

    I consent to the recording of this entire proceeding.


    I consent to the recording of some, but not all, of this proceeding.

Explain the specific parts of the proceeding for which you do not consent to recording, and your reasons:

Part of Proceeding                                      Reason Not to Video Record




                                                            Page 1 of 2
                    Case 2:20-cv-00887-RAJ Document 108 Filed 08/07/20 Page 5 of 5
          I consent to the recording of this proceeding. The following witnesses have expressed a preference not to be recorded,
          for the reasons indicated.

     Name the specific witnesses for whom you do not consent to record, and explain your reasons:

     Witness Name                                               Reason Not to Video Record




         I do not consent to the recording of any of this proceeding.

     Explain your reasons for not consenting:




     I submit and sign this form on behalf of the party I represent and the witnesses I may call.




                                                                     Signature (Type an "s/" and your name)



                                                                     Name



                                                                     Position (e.g. attorney of record)



                                                                     Date




TO E-MAIL FORM: Save a copy of this form to your computer and then send it as an attachment to Victoria Ericksen,
Courtroom Deputy to Judge Richard A. Jones, at victoria_ericksen@wawd.uscourts.gov.




                                                           Page 2 of 2
